Case 0:24-cv-60382-DSL Document 68 Entered on FLSD Docket 02/01/2025 Page 1 of 4




                                     UNITED STATES DISTRICT
                                   COURT SOUTHERN DISTRICT OF
                                            FLORIDA

                                       Case No. 0:24-CV-60382

    JESSICA PIAFSKY, an individual,
                                              Plaintiff,

                              v.

    MB HOME IMPROVEMENTS INC. a Florida
    corporation,    MAXIM    BOHADANA,     an
    individual, ROI NEEMAN, an individual and
    CONSTRUCTION         FORT   LAUDERDALE
    INC.d/b/a MB HOME IMPROVEMENTS, a
    Florida corporation,
                                     Defendants

    RENEWED MOTION TO WITHDRAWAL AS COUNSEL FOR DEFENDANTS, MB
             HOME IMPROVEMENT INC., AND MAXIM BOHADANA

            Undersigned counsel for Defendants, MB Home Improvement Inc. (“MB”) and Maxim

  Bohadana (“Bohadana”) (MB and Bohadana collectively referred to as “MB Defendants”) files

  his Renewed Motion for Withdrawal as Counsel of Record for MB Defendants and in support

  thereof state as follows:

            1.    The undersigned counsel has represented MB Defendants in the above-captioned

  matter.

            2.    Irreconcilable differences have arisen between the undersigned counsel and MB

  Defendants, rendering continued representation unfeasible and ethically challenging.

            3.    On January 29, 2025, Defendants counsel filed a Motion to Withdraw as Attorney

  for Maxim Bohadana and MB Home Improvements, Inc., which counsel for Plaintiff opposed

  (“ Defendant’s First Motion to Withdrawal”) [ECF No. 63].
Case 0:24-cv-60382-DSL Document 68 Entered on FLSD Docket 02/01/2025 Page 2 of 4




         4.       That same day, Plaintiff moved for default against Defendants because

  Defendants failed to respond to Plaintiff’s Amended Complaint a response to which was due on

  January 24, 2024 [ECF No. 61].

         5.       Defendants immediately filed a Motion Requesting this Court allow its initial

  Answer [ECF No. 31] to be incorporated as its Answer to Plaintiff’s Amended Complaint in light

  of the Amended Complaint’s lack of substantive changes. [ECF No. 62].

         6.       The following day, on January 30, 2025, this Court entered an Order denying

  Plaintiff’s Motion for Default as well as both Defendant’s Motion to Withdrawal, and Motion to

  Incorporate its Previous Answer as it Answer to the Amended Complaint. [ECF No. 64].

         7.       The Order seemingly denied all three Motions without prejudice and required

  Defendant file its Answer to the Amended Complaint no later than February 14, 2025. [ECF No.

  64].

         8.       The same day, Defendants filed their Answer to Plaintiff’s Amended Complaint.

  [ECF No. 66].

         9.       It should also be noted that undersigned has been in contact with insurer for

  Defendants who are reviewing the case file to determine coverage and potentially providing

  defense counsel to Defendant.

         10.      On account of Defendants compliance with the Court’s recent Order, and the

  Court’s Order being specified as without prejudice as to Defendants’ counsel’s Motion to

  Withdrawal, Defendants’ counsel files the instant renewed Motion for Withdrawal as Counsel of

  Defendants.
 Case 0:24-cv-60382-DSL Document 68 Entered on FLSD Docket 02/01/2025 Page 3 of 4




           11.     The Local Rules for the Southern District of Florida stipulate that "no attorney shall

   withdraw the attorney's appearance in any action or proceeding except by leave of Court after

   notice served on the attorney's client and opposing counsel." Jenkins v. Akima Glob. Servs., LLC,

   2024 U.S. Dist. LEXIS 106954 Cano v. 245 C & C, LLC, 2023 U.S. Dist. LEXIS 183775. S.D.

   Fla. L.R. 11.1(d)(3)(A) Jenkins v. Akima Glob. Servs., LLC, 2024 U.S. Dist. LEXIS 106954, Cano

   v. 245 C & C, LLC, 2023 U.S. Dist. LEXIS 183775.

    4.     It is well-established that a corporation, such as MB, cannot appear pro se and must be

represented by counsel. Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985) New Eng.

Tech., Inc. v. Sigma Tech Sales, Inc., 2014 U.S. Dist. LEXIS 199476, Baez v. LTD Fin. Servs., L.P.,

2019 U.S. Dist. LEXIS 247339.

    5.     The term irreconcilable differences is recognized by courts as a valid ground for

withdrawal, indicating that the lawyer can no longer ethically and fairly represent the client Alonso v.

Alonso, 2022 U.S. Dist. LEXIS 157593.

    6.     The undersigned counsel has made diligent efforts to resolve these differences, but such

efforts have been unsuccessful, and continued representation is not possible.

    7.     The undersigned counsel has notified MB Defendants of the intention to withdraw and has

advised them of the necessity to obtain substitute counsel to avoid any prejudice to their case. [See Ex

A; Email Correspondence Consenting to Withdrawal.].

    8.     The undersigned counsel has also notified opposing counsel of this motion, and

undersigned has objected to the relief sought.



   WHEREFORE, the undersigned counsel respectfully requests that this Court grant the motion

   to withdraw as counsel for MB Home Improvements Inc. and Maxim Bohadana, and provide
Case 0:24-cv-60382-DSL Document 68 Entered on FLSD Docket 02/01/2025 Page 4 of 4




  MB Defendants with a reasonable period to secure new representation or in the event the Court

  denies the Renewed Motion to Withdrawal, undersigned respectfully asks the Court to clarify if

  and when the court will permit withdrawal.




                              CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that on this the 1st day of February, 2025 the foregoing
was electronically filed with the Clerk of the Court using the CM/ECF filing system.

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                                                             JUSTIN M. TOLLEY
                                                              Florida Bar No. 111239
